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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARCIANO PLATA, et al.,                           Case No. 01-cv-01351-JST
                                                        Plaintiffs,
                                   8
                                                                                           ORDER RE: DEFENDANTS’
                                                 v.                                        REQUEST FOR CLARIFICATION
                                   9

                                  10     GAVIN NEWSOM, et al.,                             Re: ECF No. 3703
                                                        Defendants.
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                                  12
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                                  13          On September 27, 2021, the Court ordered Defendants and the Receiver to:
                                  14                  implement the Receiver’s recommendations that (1) access by
                                                      workers to CDCR institutions be limited to those workers who
                                  15                  establish proof of full COVID-19 vaccination or have established a
                                                      religious or medical exemption to vaccination and (2) incarcerated
                                  16                  persons who desire to work outside of the institution or to have in-
                                                      person visitation must be fully vaccinated against COVID-19 or
                                  17                  establish a religious or medical exemption.
                                  18   ECF No. 3684 at 21. The Court also ordered Defendants and the Receiver to “submit an
                                  19   implementation plan, including a deadline by which all covered persons must be vaccinated,
                                  20   within 14 days of the date of this order.” Id.
                                  21          Defendants and the Receiver timely filed the required plan, which calls for all individuals
                                  22   covered by the order to be fully vaccinated by November 29, 2021. ECF No. 3694 at 5. It noted
                                  23   that Defendants sought a December 20, 2021 deadline and that the Receiver denied the request, id.
                                  24   at 5 n.3, but it did not indicate that there remained any dispute over the November 29 deadline.
                                  25          Defendants now suggest that uncertainty exists over the timeframe for implementing the
                                  26   Court’s order. ECF No. 3703. To the extent Defendants and the Receiver disagree over the
                                  27   deadline for implementation, they shall meet and confer to attempt to resolve their dispute. The
                                  28   Court expects Defendants and the Receiver to provide an update regarding the implementation of
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                                   1   the Court’s order at the next case management conference.

                                   2          Defendants also suggest that implementation of the Court’s order would conflict with a

                                   3   temporary restraining order issued on October 14, 2021, by Kern County Superior Court Judge

                                   4   Bernard C. Barmann, Jr. Id. According to Defendants, the temporary restraining order, which

                                   5   expires at 5:00 p.m. on October 22, 2021, enjoins Defendants from:

                                   6
                                                      Enforcing the requirement that the CDCR staff who are Bargaining
                                   7                  Unit 6 members and specified in the August 19, 2021 California
                                                      Department of Public Health Order and delineated in the August 23,
                                   8                  2021 California Department of Corrections and Rehabilitation
                                                      Memorandum be fully vaccinated against COVID-19 by October 14,
                                   9                  2021.

                                  10   Id. at 2. That order does not conflict with this Court’s order, as no one has suggested an

                                  11   October 14, 2021 deadline for compliance with the vaccination requirements imposed by the

                                  12   Court. Moreover, the persons to whom the temporary restraining order applies are only a subset
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                                  13   of the persons covered by the Court’s order. Thus, even if there were some overlap between the

                                  14   Court’s order and the temporary restraining order, that would not present a conflict as to

                                  15   implementation of the Court’s order as to all other covered individuals. The Court makes no

                                  16   determination at this time regarding how a true conflict between this Court’s order and any order

                                  17   issued by another court might be resolved under principles of comity, federalism, or other relevant

                                  18   law.

                                  19          IT IS SO ORDERED.

                                  20   Dated: October 15, 2021
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                                  21
                                                                                                     JON S. TIGAR
                                  22                                                           United States District Judge

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